Oo oN BA oO FPF WD N

NWN NY SB SB SF Se Be SB Re RB Re eB
2PRPRNRRRRPRBRR SF Cwernuaasnrowne+ so

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 1 of 52

Kenneth W. Harper

Quinn N. Plant

Menke Jackson Beyer, LLP
807 North 39" Avenue
Yakima, WA 98902
509-575-0313

Attorneys for Defendant

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

Firs Home Owners Association,

NO. 2:19-cv-01130-RSL
Plaintiff,
DEFENDANT'S MOTION FOR LEAVE
Vv. TO AMEND ANSWER AND
AFFIRMATIVE DEFENSES

City of SeaTac, a Municipal Corporation,
NOTE ON MOTION CALENDAR:
Defendant. DEC. 20, 2019

 

1 MOTION

Defendant City of SeaTac hereby moves pursuant to Fed. R. Civ. P. 15(a)(2) for
leave to amend its answer and affirmative defenses. A copy of defendant's proposed
amended answer and affirmative defenses is attached at Appendix A. The pleading is
formatted in accordance with LCR 15. A proposed order granting this motion is attached at
Appendix B.

Il. FACTUAL BACKGROUND
The plaintiff (herein "HOA") initiated this lawsuit in King County Superior Court

on July 3, 2019. (Dkt. #1-2). Defendant (herein "City") removed the lawsuit to this Court

MENKE JACKSON BEYER, LLP

DEFENDANT'S MOTION FOR ee
LEAVE TO AMEND ANSWER Telephone (509)575-0313

Fax (509)575-0351

AND AFFIRMATIVE DEFENSES — 1
NO. 2:19-cv-01130-RSL
oO mnN BD OF FPF WO NY

NNN NN SB BP BSB BB BSB SB PB eR lr lo
2PRRNHRRRPSRR FG BOeniaaarownvr oo

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 2 of 52

on July 22, 2019, (Dkt. #1), and answered on July 23, 2019. (Dkt. #5). The City also filed a
motion to dismiss the complaint on September 26, 2019. (Dkt. #17).

In response to the City's motion to dismiss, the HOA filed a motion to amend its
complaint on October 14, 2019. (Dkt. #21). The City thereafter provided its written consent
for the HOA to file its proposed first amended complaint. (Dkt. #49-1). The parties filed a
stipulation to this effect. (Dkt. #30). The HOA filed its first amended complaint on October
21, 2019. (Dkt. #29).

On October 31, 2019, the City filed a Rule 12(b)(6) motion to dismiss the first
amended complaint. (Dkt. #36). The motion was set for hearing on November 22, 2019.
(/d.). The City also filed its answer and affirmative defenses on November 1, 2019. (Dkt.
37).

On November 22, 2019, the HOA moved to strike the affirmative defenses alleged
by the City. (Dkt. #42). The HOA contends that the City's affirmative defenses are
inadequately pled because the City has failed to provide "a factual or legal basis for [its]
defenses." (/d., at 2). The HOA's motion is noted for hearing on December 13, 2019. Ud).

The City previously advised the HOA that it may seek to amend its answer and
affirmative defenses after reviewing documents provided by the HOA in response to
discovery. (See Dkt. #45 at p. 63). On December 4, 2019, the HOA produced initial
discovery responses. (Dkt. #49, 4 4). Documents produced by the HOA in response to the
discovery were probative as to the City's affirmative defense of standing. (/d.).

The City has drafted a proposed amended answer and affirmative defenses. The

amendments clarify the factual and legal basis of the City's affirmative defenses. (Dkt. #49,

MENKE JACKSON BEYER, LLP

DEFENDANT'S MOTION FOR Tismn Wale,
LEAVE TO AMEND ANSWER Telephone (509)575-0313

Fax (509)575-0351

AND AFFIRMATIVE DEFENSES — 2
NO. 2:19-cv-01130-RSL
o oN an ow FPF WO NY F&F

NN FS FP Se BS BSB SB BP RP RP
2rmPPNRHRRRRBPBRRSEe NVA ARON EH SC

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 3 of 52

4 4). The amendments address and resolve the HOA's criticism that the affirmative defenses
as drafted do not give the HOA fair notice of the manner in which the City intends to defend
this lawsuit.

Pursuant to Fed. R. Civ. P. 15(a), the City asked for the HOA's written consent to file
the amended pleadings. (Dkt. #49-2). In an email communication dated December 4, 2019,
the HOA's legal counsel indicated that it could not provide such written consent. (/d.).

The deadline for amending pleadings is June 10, 2020. (Dkt. #20). The HOA has

not served discovery. (Dkt. #49, 9 6). No depositions have been set. (/d.). The discovery

cutoff is August 9, 2020. (Dkt. #20).
II. ARGUMENT

When the time for amendment as a matter of course has expired, ‘“‘a party may amend
its pleading only with the opposing party’s written consent or the court’s leave." Fed. R.
Civ. P. 15(a)(2). "The standard for granting leave to amend is generous." United States v.
Corinthian Colleges, 655 F.3d 984, 995 (9th Cir. 2011) (citation omitted). To determine
whether amendment is appropriate, the Court considers five potential factors: (1) bad faith,
(2) undue delay, (3) prejudice to the opposing party, (4) futility of amendment, and (5)
whether there has been previous amendment. /d.

The Court should grant the City's motion for leave to amend its answer and
affirmative defenses. The amendments are submitted in good faith for the purpose of
clarifying the legal and factual basis of the City's affirmative defenses. (Dkt. #49, | 4). The

purpose of the amendment is to resolve concerns raised by the HOA that the affirmative

MENKE JACKSON BEYER, LLP

DEFENDANT'S MOTION FOR enol Geo,
LEAVE TO AMEND ANSWER Telephone (509)575-0313

Fax (509)575-0351

AND AFFIRMATIVE DEFENSES — 3
NO. 2:19-cv-01130-RSL
Oo emnN BD FF WD NY FS

NO Cn
2SPRPRBRNHRRRRRBRR SF CGPeryunaaer wneo

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 4 of 52

defenses, as plead, do not provide it with fair notice of how the City intends to defend this
lawsuit. (/d.).

The City has not delayed the proposed amendments. Under the civil rules, the City
is not required to file an answer until after its pending motion to dismiss the HOA's first
amended complaint is resolved. Fed. R. Civ. P. 12(a)(4).

The City previously informed the HOA that it may seek to amend its affirmative
defenses after it has received responses to discovery. (Dkt. #45 at p. 63). Having now
reviewed documents provided by the HOA in response to discovery, the City is doing
precisely that.

There is no prejudice to the HOA. This lawsuit is only at the pleading stage, with a
Fed. R. Civ. P. 12(b)(6) motion to dismiss pending. The HOA has not served discovery and
the discovery cutoff is not until August 9, 2020. (Dkt. #20). As noted above, the City's
answer does not even become due until after the Court issues a decision on the pending
motion to dismiss. Fed. R. Civ. P. 12(a)(4).

The amendments are not futile. They raise substantive, and likely dispositive,
defenses to the HOA's claims in this lawsuit. Many of these defenses, and particularly those
relating to waiver, collateral estoppel, res judicata, and improper claim splitting are raised
either expressly or by implication in the pending motion to dismiss.

The HOA has not previously sought to amend its answers. When the HOA
previously requested to amend its complaint, the City provided its written consent. (Dkt.

#49-1). Under these circumstances, the City should be afforded leave to amend its answer

and affirmative defenses.

MENKE JACKSON BEYER, LLP

DEFENDANT'S MOTION FOR acme
LEAVE TO AMEND ANSWER eee ee

Fax (509)575-0351

AND AFFIRMATIVE DEFENSES — 4
NO. 2:19-cv-01130-RSL
wow mN BA a Ff W N F

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 5 of 52

IV. CONCLUSION
For the foregoing reasons, the Court should grant the City leave to file the proposed
amended answer and affirmative defenses to the HOA's first amended complaint.

DATED THIS 5™ day of December, 2019.

s/ KENNETH W. HARPER
WSBA #25578

s/ QUINN N. PLANT

WSBA # 31339

Menke Jackson Beyer, LLP
Attorneys for Defendant
807 North 39" Avenue
Yakima, Washington 98902
Telephone: (509) 575-0313
Fax: (509) 575-0351

Email: kharper@mjbe.com

MENKE JACKSON BEYER, LLP

DEFENDANT'S MOTION FOR Can oe
LEAVE TO AMEND ANSWER Telephone (509)575-0313

Fax (509)575-0351

AND AFFIRMATIVE DEFENSES — 5
NO. 2:19-cv-01130-RSL
Oo feN BD OF fF W NY F&F

NO ee ee
2RPRNHRRRBRBBRSFiSGe YA AROKHE SC

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 6 of 52

CERTIFICATE OF SERVICE

[hereby certify that on December 5, 2019, I filed the foregoing with the Clerk of the

Court using the CM/ECF System, which will send notification of such filing to the

 

following:

V. Omar Barraza omar(@barrazalaw.com
Christina L. Henry chenry@hdm-legal.com
Ms. Mary E. Mirante Bartolo mmbartolo@seatacwa.gov
Mr. Mark S. Johnsen mjohnsen@seatacwa.gov
Mr. Brendan W. Donckers bdonckers(@bjtlegal.com

 

and I hereby certify that I have mailed by United States Postal Service the document to the
following non-CM/ECF participants:

None.

s/ KENNETH W. HARPER
WSBA #25578

Menke Jackson Beyer, LLP
Attorneys for Defendant
807 North 39"" Avenue
Yakima, Washington 98902
Telephone: (509) 575-0313
Fax: (509) 575-0351

Email: kharper@mjbe.com

MENKE JACKSON BEYER, LLP
807 North 39" Avenue
DEFENDANT'S MOTION FOR areal WA 98902
LEAVE TO AMEND ANSWER ee
AND AFFIRMATIVE DEFENSES — 6
NO. 2:19-cv-01130-RSL
Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 7 of 52

Appendix A
Oo mn BD OF Ff W NY

NN N N §- FS FS S&S FSF FSF FF SF FSF

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 8 of 52

Kenneth W. Harper

Menke Jackson Beyer, LLP
807 North 39" Avenue
Yakima, WA 98902
509-575-0313

Attorneys for Defendant

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

 

Firs Home Owners Association,
NO. 2:19-cv-01130
Plaintiff,
V. DEFENDANT’S AMENDED
ANSWER AND AFFIRMATIVE
City of SeaTac, a Municipal Corporation, | DEFENSES TO FIRST
AMENDED COMPLAINT
Defendant.

 

 

Defendant City of SeaTac (“defendant”) responds to plaintiff's first
amended complaint ("FAC") as follows:

Answering the introductory paragraph of the FAC, defendant is without
information or knowledge to form a belief as whether "almost all" members of
the Firs Home Owners Association "are Latino or Hispanic," and therefore
denies the same. Defendant denies each and every other allegation of the

introductory paragraph of the FAC.

DEFENDANT'S AMENDED ANS WER ENED ACE o PEMER, DEP
AND AFFIRMATIVE DEFENSES TO A ee
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 1
ow en DBD OFF FP WO NY

NN NB SF SB oe Re oR RR ll lel
SRRBNRRRRPRBRBBSFSSPEe WT A GDRWOWNHeF SO

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 9 of 52

I. Parties

1.1. Answering paragraph 1.1 of the complaint, defendant admits the
same.

1.2. Answering paragraph 1.2 of the complaint, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same. Answering footnote no. 1 to
paragraph 1.2 of the complaint, defendant admits only to the existence of legal
authority, including Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982),
which speaks for itself, and denies each and every other allegation of said

footnote.

1.3. Answering paragraph 1.3 of the complaint, defendant admits the
same.
Il. Jurisdiction and Venue
2.1. Answering paragraph 2.1 of the FAC, defendant admits the same.
Il. Facts
3.1. Answering paragraph 3.1 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said

allegations, and therefore denies the same.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Tele dene)ste)s7es0545
FIRST AMENDED COMPLAINT Fax (509)575-0051

NO. 2:19-cv-01130-RSL - 2
oO ent DBD OF FF W N

Ny NR Se SB BP eB eS oP Se ll
SPRPPBRBNHRRRRRBRB SFiSEPeVSF WT ATE WKH SO

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 10 of 52

3.2 Answering paragraph 3.2 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.3 Answering paragraph 3.3 of the FAC, defendant admits only that
defendant is among King County's most diverse cities. In answer to
demographic data referenced in paragraph 3.3 of the complaint, defendant
admits to the existence of a 2012 presentation regarding “South King County’s
Changing Demographics,” which speaks for itself as to content, and is without
information or knowledge sufficient to form a belief as to the accuracy of said
data, and therefore denies the same.

3.4 Answering paragraph 3.4 of the FAC, defendant admits only to
the existence of the City of SeaTac Comprehensive Plan Land Use Background
Report, which speaks for itself as to content, and denies each and every other
allegation of said paragraph.

3.5 Answering paragraph 3.5 of the FAC, defendant admits only to
the existence of the 2013-2017 American Community Survey 5-Year Estimate,

which speaks for itself as to content, and denies each and every other allegation

of said paragraph.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Teese erecta
FIRST AMENDED COMPLAINT Fax (608}575-0351

NO. 2:19-cv-01130-RSL - 3
Oo mn ds ao Ff» W N

NY NNN BS SB RB BB BP eR lu elhlUvPlUrRlur
PRRNRRRPRBRRSFiSoaeriaars ones

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 11 of 52

3.6 Answering paragraph 3.6 of the FAC, defendant admits only that
Spanish is the primary language spoken by some adult heads of households
located within the Firs Mobile Home Park. Defendant is without information
or knowledge sufficient to form a belief as to the truth of each and every other
allegation of said paragraph, including footnote no. 2 to said paragraph, and
therefore denies the same.

3.7 Answering paragraph 3.7 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.8 Answering paragraph 3.8 of the FAC, defendant admits that it is a
signatory to an Interlocal Cooperation Agreement Regarding the Community
Development Block Grant Program covering the 2015, 2016 and 2017 federal
fiscal years, which speaks for itself as to content, and that said interlocal
agreement is ongoing, and denies each and every other allegation of said
paragraph.

3.9 Answering the first sentence of paragraph 3.9 of the FAC,
defendant is without information or knowledge sufficient to form a belief as to

the existence of a King County Housing and Community Development

DEFENDANT'S AMENDED ANSWER ae
AND AFFIRMATIVE DEFENSES TO renatime je ce
FIRST AMENDED COMPLAINT Fax (508)575.0851

NO. 2:19-cv-01130-RSL - 4
oO ON DBD OFF FP W N FS

Nw NY NN SB FP BR PB BS eS Se le
2PRRBRNRRRRBRBSF Ge W:A TDR DWNH ES

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 12 of 52

Program, and therefore denies the same. Defendant admits to the existence of
a King County Consortium Consolidated Housing and Community
Development Plan, which speaks for itself as to content. Answering the rest of
paragraph 3.9 of the FAC, the interlocal agreement described in answer to
paragraph 3.8 of the FAC speaks for itself as to content. Defendant denies
each and every other allegation of said paragraph.

3.10 Answering the first sentence of paragraph 3.10 of the FAC,
defendants admits only that defendant adopted amendments to its
comprehensive plan in June, 2015, that the Comprehensive Plan as amended in
June, 2015 speaks for itself as to content, and to the existence of Washington's
Growth Management Act, Wash. Rev. Code Chapter 36.70A, which also
speaks for itself as to content. Defendant denies each and every other
allegation of said paragraph.

3.11 Answering paragraph 3.11 of the FAC, defendant admits only to

the existence of the 2015-2019 Consolidated Plan of the King County

Consortium, which speaks for itself as to content, and denies each and every
other allegation of said paragraph.

DEFENDANT'S AMENDED ANSWER SSS
AND AFFIRMATIVE DEFENSES TO ae,
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 5
ow rmnN BD OF F W NY

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 13 of 52

3.12 Answering paragraph 3.12 of the FAC, defendant is without
information or knowledge sufficient to form belief as to the truth of said
allegations, and therefore denies the same.

3.13 Answering paragraph 3.13 of the FAC, defendant admits only to
the existence of the City of SeaTac 2015/16 biennial budget, which speaks for
itself as to content, and denies each and every other allegation of said
paragraph.

3.14 Answering paragraph 3.14 of the FAC, defendant admits only to
locating records suggesting said allegations to be accurate. Defendant cannot
independently confirm the accuracy of these records, or the truth of the
allegations set forth in paragraph 3.14 of the FAC, and therefore denies the
same.

3.15 Answering paragraph 3.15 of the FAC, defendant admits only that
the SeaTac City Council appointed James Payne as Interim City Manager on
January 19, 2016, and denies each and every other allegation of said paragraph.

3.16 Answering the first sentence of paragraph 3.16 of the FAC,
defendant admits only that Washington State Representative Matt Shea was

invited to make a presentation to the SeaTac City Council, which presentation

DEFENDANT'S AMENDED ANSWER eee
AND AFFIRMATIVE DEFENSES TO ae
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 6
wo mnt Dn OFF F WO N FS

NO en
2PRPPRBPNHRPRRRBRRBBTPSETRV FR GDB ONH!S

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 14 of 52

spoke for itself as to content, and that Riverton Heights Park is located near the
Islamic Center of Seattle. Defendant is without information or knowledge
sufficient to form a belief as to who invited Representative Shea, and therefore
denies the allegation that Representative Shea was invited by then-Mayor Rick
Forschler. Defendant is without information or knowledge sufficient to form a
belief as to the truth of the allegation that Washington State Representative
Matt Shea is controversial, and therefore denies the same. Defendant denies
each and every other allegation of said sentence. Answering the second and
third sentences of paragraph 3.16 of the FAC, and footnote 3 of paragraph 3.16
of the FAC, defendant admits only to the existence of an August 26, 2019,
newspaper article in the Inlander, which speaks for itself as to content, and
denies each and every other allegation of said sentences and footnote.

3.17 Answering the first sentence of paragraph 3.17 of the FAC,
defendant admits only that City Manager James Payne resigned on or about
April 6, 2016, and to the existence of a report from an outside investigator,
Michael Griffin, which speaks for itself as to content. Defendant denies each
and every other allegation of said sentence. Answering each and every other

allegation set forth in paragraph 3.17 of the FAC, the investigator's report

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO ieietome otre tats
FIRST AMENDED COMPLAINT Fax (509}575-0351

NO. 2:19-cv-01130-RSL - 7
ow ent BD OF fF W N &

NN FF eB BP eB PB RP Oe eS elo
PRRBRNRRRPRPBRRBSBPe WA GBGreoneAs

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 15 of 52

speaks for itself as to content and no response is required. To the extent a
response is required, defendant denies each and every other allegation of the
second, third and fourth sentences of paragraph 3.17 of the FAC.

3.18 Answering paragraph 3.18 of the FAC, defendant admits the
same.

3.19 Answering paragraph 3.19 of the FAC, defendant admits only to
locating records suggesting said allegations to be accurate. Defendant cannot
independently confirm the accuracy of these records, or the truth of the
allegations set forth in paragraph 3.19 of the FAC, and therefore denies the
same.

3.20 Answering paragraph 3.20 of the complaint, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations and therefore denies the same.

3.21 Answering the first and second sentences of paragraph 3.21 of the
FAC, defendant is without information or knowledge sufficient to form a belief
as to the truth of the allegations set forth therein, and therefore denies the same.

Answering the third sentence of paragraph 3.21 of the FAC, defendant denies

the same.

DEFENDANT'S AMENDED ANSWER SS Age ere
AND AFFIRMATIVE DEFENSES TO ioe es
FIRST AMENDED COMPLAINT Fax (609)575-0851

NO. 2:19-cv-01130-RSL - 8
wo Pen BD oa FPF W N

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 16 of 52

3.22 Answering the first, third and fourth sentences of paragraph 3.22
of the FAC, defendant admits only to the existence of SeaTac Municipal Code
(SMC) § 15.465.600.H, which speaks for itself as to content, and denies each
and every other allegation of said sentences. Answering the second sentence of
paragraph 3.22 of the FAC, said sentence makes erroneous statements of law,
to which- no response is required. To the extent a response is required,
defendant denies the same. Answering the fifth sentence of paragraph 3.22 of
the FAC, defendant admits the same.

3.23 Answering paragraph 3.22 of the FAC, defendant denies the same.

3.24 Answering paragraph 3.24 of the FAC, defendant cannot
determine what the plaintiff means by "throughout the relocation process,"
which defendant understands to be ongoing, and therefore denies the same.

3.25 Answering paragraph 3.25 of the FAC, defendant admits only to
the existence of SMC § 15.465.600.H, which speaks for itself as to content, and
denies each and every other allegation of said paragraph.

3.26 Answering the first and second sentence of paragraph 3.26 of the
FAC, defendant admits only that the landlord sent letters in English to residents

of the Firs Mobile Home Park inviting them to a meeting on July 11, 2016, ata

DEFENDANT'S AMENDED ANSWER renal
AND AFFIRMATIVE DEFENSES TO a parni oe
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 9
Oo omN BS oO fF W N

NM NN BP SB SB BP BP BP oe elle
PRRBRNRRRPRRBR F&F Ce VA aUReONKHeE SC

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 17 of 52

private hotel, regarding the proposed closure of the mobile home park.
Defendant denies each and every other allegation of said sentences. Answering
the third sentence of paragraph 3.26 of the FAC, defendant admits only that
Steve Pilcher attended the meeting and denies each and every other allegation
of said sentence. Answering the fourth, fifth and sixth sentence of paragraph
3.26 of the FAC, defendant is without information or knowledge sufficient to
form a belief as to the truth of said allegations, and therefore denies the same.

3.27 Answering paragraph 3.27 of the complaint, defendant admits
only to a judgment entered against it by Judge Richard McDermott in K & S
Developments, LLC v. City of SeaTac, King County Superior Court Cause No.
12-2-40564-6, which speaks for itself as to content, and that Jeffrey Robinson
was named as a defendant. The defendant denies the plaintiff's
characterization of the facts and ruling in that lawsuit, and further denies each
and every other allegation of said paragraph.

3.28 Answering the first sentence of paragraph 3.28 of the FAC,
defendant admits issuing a State Environmental Policy Act (SEPA) threshold
determination of non-significance on July 22, 2016, which speaks for itself as

to content, and denies each and every other allegation of said sentence.

DEFENDANT'S AMENDED ANSWER eae
AND AFFIRMATIVE DEFENSES TO tote poets
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 10
So ren a FF FF WD NY

NNN FSF BS SB BB BP PB BS BP eS oe
ZSRBRBNRRRBRBRRSETCRFVSFR GREK ES

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 18 of 52

Answering the second sentence of paragraph 3.28 of the FAC, defendant
denies that it "failed" to provide SEPA related materials in Spanish and further
denies that it had any obligation or duty to do so.

3.29 Answering paragraph 3.29 of the FAC, defendant admits the
same.

3.30 Answering 3.30 of the FAC, defendant admits only that the Angle
Lake Light Rail Station opened in September 2016 and that the station is less
than one mile from the Firs Mobile Home Park. Defendant denies each and
every other allegation of said paragraph.

3.31 Answering the first sentence of paragraph 3.31 of the FAC,
defendant admits the same. Answering the second, third and fourth sentences
of paragraph 3.31 of the FAC, defendant denies the same. Answering the fifth
sentence of paragraph 3.31 of the FAC, defendant admits the same. Answering
the sixth sentence of paragraph 3.31 of the complaint, defendant admits the

same.

3.32 Answering paragraph 3.32 of the FAC, defendant admits the

same.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Telephone tele7=s0503
FIRST AMENDED COMPLAINT Fax (809}575-0351

NO. 2:19-cv-01130-RSL - 11
Oo mnN BD FF FP W] NY &

NN FS Ss SS BP BP BP SS SP eS oe
2PRRBRNRRBRPRBRR SF GEaAae VTA ae DRE S

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 19 of 52

3.33 Answering the first and third sentences of paragraph 3.33 of the
FAC, defendant admits the same. Answering the second sentence of paragraph
3.33 of the FAC, defendant denies that it "failed" to provide the relocation
approval letter in Spanish, denies that it "failed" to provide residents with
information in Spanish about their appeal rights, and further denies that it had
any obligation or duty to do either.

3.34 Answering paragraph 3.34 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of the
allegations set forth therein, and therefore denies the same.

3.35 Answering paragraph 3.35 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of the
allegations set forth therein, and therefore denies the same.

3.36 Answering the first sentence of paragraph 3.36 of the FAC,
defendant admits only that individuals who purported to be residents of the Firs
Mobile Home Park spoke at the regular council meeting of October 25, 2016,
that their comments speak for themselves. Defendants are without information
or knowledge sufficient to form a belief as to whether these individuals were

"HOA members," and therefore denies the same. Defendant denies each and

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
807 North 39th Avenue

AND AFFIRMATIVE DEFENSES TO Teethers (oo oioors

FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 12
ow Pn BA oO FF WD NY

MN NY BF BB BB BS eB eB eB le ll
PRRNRRRRPREBRSPFESGCeSe WA GR WneE CO

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 20 of 52

every other allegation of said sentence. Answering the second sentence of
paragraph 3.36 of the FAC, defendant denies that it "refused" to extend the
appeal deadline, and is without information or knowledge sufficient to form a
belief as to whether "many" of the families did or did not receive notice of the
approval of the relocation plan until on or about October 25, 2016, and
therefore denies the same. Defendant denies each and every other allegation of
said sentence.

3.37 Answering the first sentence of paragraph 3.37 of the FAC,
defendant admits only that members of the SeaTac City Council spoke at the
October 25, 2016, regular council meeting and is without information or
knowledge sufficient to form a belief as to whether residents of the Firs
considered their comments to be hostile or discriminatory, and therefore denies
the same. Answering the second sentence of paragraph 3.37 of the FAC,
defendant denies that it "failed" to provide Spanish-language interpreters at the
October 25, 2016, regular council meeting, and further denies that it had any
obligation or duty to do so. Defendant is without information or knowledge
sufficient to form a belief as to the truth of the allegation that this City Council

Meeting was attended by "Firs MHP residents," and therefore denies the same.

DEFENDANT'S AMENDED ANSWER MINKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Teleponet ee ats
FIRST AMENDED COMPLAINT a eee es

NO. 2:19-cv-01130-RSL - 13
ow en BD oO fF W NY

NC er
2PRPRBRNRRRRPRRRBSFESeBSTWTAaUaAe DH! SS

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 21 of 52

Answering the third sentence of paragraph 3.37 of the FAC, the official
minutes of the October 25, 2016, SeaTac City Council meeting speak for
themselves, and no response is required. To the extent a response is required,
defendant denies the same.

3.38 Answering paragraph 3.38 of the FAC, statements by then-Acting
City Manager Jose Scorcio at the October 25, 2016, regular meeting of the
SeaTac City Council speak for themselves, and no response is therefore
required. To the extent a response is required, defendant denies plaintiff's
characterization of Mr. Scorcio's comments.

3.39 Answering paragraph 3.39 of the FAC, statements by then-
Councilmember Kathryn Campbell and then-Acting City Manager Jose Scorcio
at the October 25, 2016, regular meeting of the SeaTac City Council speak for
themselves, and no response is therefore required. To the extent a response is
required, defendant denies the same.

3.40 Answering paragraph 3.40 of the FAC, statements by
Councilmember Tony Anderson at the October 25, 2016, regular meeting of
the SeaTac City Council speak for themselves, and no response is therefore

required. To the extent a response is required, defendant denies the same.

DEFENDANT'S AMENDED ANSWER ee
AND AFFIRMATIVE DEFENSES TO Birnie ie ae
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 14
Oo men BS OFF fF WD NY

Ny NNN FB SB RB eB RP oe lr elu
2PRBPRBNRRRRRRRBSFSGaeWT:A TD eONeE SO

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 22 of 52

Answering footnote 4 to paragraph 3.40 of the FAC, said footnote is not
directed at defendant and not response is required. To the extent a response is
required, defendant is without information or knowledge sufficient to form a
belief as to the truth of said allegations, and therefore denies the same.

3.41 Answering the first sentence of paragraph 3.41 of the FAC,
defendant denies the same. Answering each and every other allegation of said
paragraph, statements by members of the SeaTac City Council at the October
25, 2016, regular meeting of the SeaTac City Council speak for themselves as
to content, and no response is required. To the extent a response is required,
defendant admits only that former Mayor Sietkes resigned his seat and denies
each and every other allegation of said sentences.

3.42 Answering paragraph 3.42 of the FAC, defendant admits only to
the existence of email correspondence from Joseph Scorcio to Monica

Mendoza-Castrejon dated October 30, 2016, which speaks for itself, and denies

each and every other allegation of said paragraph.

3.43 Answering paragraph 3.43 of the complaint, defendant denies the
same. Defendant admits that Crisanto Medina (but not other individual
DEFENDANT'S AMENDED ANSWER ea oem,
AND AFFIRMATIVE DEFENSES TO AoE
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 15
ow rent an oO Ff» WH N

Ny NY SF FB BP Ss BP eB ee lel lvl
PRRBNRRRRPRBRBRS&FB&eF DT aAaoewnne s

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 23 of 52

members of the HOA) timely appealed defendant's approval of the relocation
plan.

3.44 Answering paragraph 3.44 of the FAC, defendant denies the same.

3.45 Answering paragraph 3.45 of the FAC, defendant admits only that
members of the public spoke at the SeaTac City Council meeting on November
22, 2016, and that said comments speak for themselves. Defendant denies each
and every other allegation of said paragraph.

3.46 Answering the first sentences of paragraph 3.46 of the FAC,
defendant admits the same. Answering the second sentence of paragraph 3.46
of the FAC, defendant admits that King County awarded an additional
$338,400 in CDBG funds and denies each and every other allegation of said
sentence. Answering the third sentences of paragraph 3.46 of the FAC,
defendant admits the same.

3.47 Answering paragraph 3.47 of the FAC, defendant is without
information or knowledge sufficient to form belief as to the truth of said
allegations, and therefore denies the same.

3.48 Answering the first and second sentence of paragraph 3.48 of the

FAC, defendant admits the same. Answering the third and fourth sentences of

DEFENDANT'S AMENDED ANSWER eat? Nowth 39" Avenue
AND AFFIRMATIVE DEFENSES TO Telecuoee cto  taas
FIRST AMENDED COMPLAINT Fax (608)575-0051

NO. 2:19-cv-01130-RSL - 16
CoC rn BD OFF Ff» WD ND S&S

NN NN SF SB SB SB BP PR eS oe lll
2P RPRNRRPRPRPBRBEPeDWVAaUReORH A SC

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 24 of 52

paragraph 3.48 of the FAC, defendant admits only that members of the public
and also Steve Pilcher spoke at the public hearing on January 19, 2017, the
comments and testimony of whom speaks for themselves. Defendant is
without information or knowledge sufficient to form a belief as to whether any
people who spoke at the hearing were "HOA members," and therefore denies
the same. Defendant denies each and every other allegation of said paragraph.

3.49 Answering paragraph in 3.49 of the FAC, defendant admits only
to the existence of briefing filed by the City of SeaTac with the hearing
examiner, which speaks for itself as to content, and denies each and every other
allegation of said paragraph.

3.50 Answering paragraph 3.50 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.51 Answering paragraph 3.51 of the FAC, defendant admits only to
the existence of the hearing examiner's report and decisions dated February 22,
2017, which speaks for itself as to content, and denies each and every other

allegation of said paragraph.

DEFENDANT'S AMENDED ANSWER ee we LLP
AND AFFIRMATIVE DEFENSES TO os ie ep
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 17
oO en A oF FF W ND

Sw NY FF BS BP Pk BP BP OS oe ll
2SPRRNRRPRPRBRBRBBEEDTAaGURaAaRHHE S

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 25 of 52

3.52 Answering paragraph 3.52 of the FAC, defendant admits the
same.

3.53. Answering paragraph 3.52 of the FAC, defendant denies the same.

3.54 Answering paragraph 3.54 of the FAC, defendant denies the same.

3.55 Answering paragraph 3.55 of the FAC, defendant admits only to
the existence of an order of King County Superior Court Judge Judith H.
Ramseyer dated May 26, 2017, in King County Superior Court case number
17-2-07094 KNT, which speaks for itself as to content, and denies each and
every other allegation of said paragraph.

3.56 Answering paragraph 3.56 of the FAC, defendant lacks
information or knowledge sufficient to form a belief as to the existence of any
oral or written order of the King County Superior Court on May 31, 2017, and
therefore denies the same. To the extent such order may exist, the order speaks
for itself as to content. Defendant denies each and every other allegation of
said paragraph.

3.57 Answering paragraph 3.57 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said

allegations, and therefore denies the same.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Teese
FIRST AMENDED COMPLAINT eae

NO. 2:19-cv-01130-RSL - 18
So ren ds OF FF» W N

TO > Se
2PRRBRENARRRREBR SFP VA aweaR ee GS

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 26 of 52

3.58 Answering paragraph 3.58 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.59 Answering paragraph 3.59 of the FAC, defendant is without
information or knowledge sufficient to form belief as to the truth of said
allegations, and therefore denies the same.

3.60 Answering paragraph 3.60 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.61 Answering paragraph 3.61 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.62 Answering paragraph 3.62 of the FAC, defendant denies the same.

3.63 Answering paragraph 3.63 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said

allegations, and therefore denies the same.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Teleghen: Go)szust3
FIRST AMENDED COMPLAINT Fax (608)575-0351

NO. 2:19-cv-01130-RSL - 19
oO eonN Bn oa fF WS NY

NO en ee Oe ee
PRRBRNRRRPRBBRBRBESPS2VWAaGwReeOn-eE SC

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 27 of 52

3.64 Answering paragraph 3.64 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.65 Answering paragraph 3.65 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.66 Answering paragraph 3.66 of the FAC, defendant admits only that
then-Mayor Siefkes spoke at the December 12, 2017, special meeting of the
SeaTac City Council and that his comments speak for themselves. Defendant
denies each and every other allegation of said paragraph.

3.67 Answering paragraph 3.67 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.68 Answering paragraph 3.68 of the FAC, defendant does not have a
transcript of court proceedings on December 15, 2017, and lacks information
or knowledge sufficient to form a belief as to the truth of said allegations, and

therefore denies the same.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Teldpomeysoyees19
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 20
wo mown Dn OF FPF WS NY FS

MN NN FB SB SB SB RB Oe eB lel lure
2PRRBRNRRRRBRBR SSCA VA TDR DHRA CO

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 28 of 52

3.69 Answering paragraph 3.69 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.70 Answering paragraph 3.70 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.71 Answering paragraph 3.71 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.72 Answering the first and second sentences of paragraph 3.72 of the
FAC, defendant admits only to a Human Services Needs Assessment prepared
for the City of SeaTac by Kone Consulting and released on or about January 9,
2018, which speaks for itself as to content. Defendant denies plaintiff's
characterization of the report's "recommendations." Answering the third and
fourth sentence of paragraph 3.72 of the FAC, defendant does not have a
recording or transcript of the Special Administration and Finance Committee
meeting on January 17, 2018, and is therefore without information or

knowledge sufficient to form a belief as to the truth of said allegations, and

DEFENDANT'S AMENDED ANSWER Eee LLP
AND AFFIRMATIVE DEFENSES TO rote i
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 21
oO ment ana a F» W N

Nm N NS SB SB RB eB RP oe lll
2PRRNRRRRPRRKRSFSFeQVAaGBROAaNHeR SS

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 29 of 52

therefore denies the same. Defendant admits the existence of minutes from
that meeting, which speak for themselves as to content. Defendant denies each
and every other allegation of said paragraph.

3.73 Answering paragraph 3.73 of the FAC, defendant admits only to a
tweet from Mayor Erin Sitterly on or about January 19, 2018, which speaks for
itself as to content, and denies each and every other allegation of said
paragraph.

3.74 Answering paragraph 3.74 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.75 Answering paragraph 3.75 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, and therefore denies the same.

3.76 Answering the first and second sentences of paragraph 3.76 of the
FAC, defendant admits only to the existence of the Seattle Times article
referenced therein, which speaks for itself as to content, and denies each and
every other allegation of said sentences. Answering the third and fourth

sentences of paragraph 3.76 of the FAC, defendant is without information or

DEFENDANT'S AMENDED ANSWER SS ee
AND AFFIRMATIVE DEFENSES TO Baran wa ee
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 22
oO mnN BD oO fF WD NY &

WN N BN FB SB SB eB eB Ue lUrelUrelUrelure
2PRRNRRRRPRRBRSPFSGCaA2e AA GBDwrwaanvwes

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 30 of 52

knowledge sufficient to form a belief as to the truth of said allegations, and
therefore denies the same. Defendant denies that it "did not make any effort to
help the HOA leverage this incredible contribution" and denies that it refused
to cooperate "with the HOA to leverage these funds."

3.77 Answering paragraph 3.77 of the FAC, defendant admits only to
the existence of the City of SeaTac ADA Transition Plan, dated April 27, 2018,
which speaks for itself as to content, and denies each and every other allegation
of said paragraph.

3.78 Answering paragraph 3.78 of the FAC, defendant admits only to
the existence of an oral ruling by King County Superior Court Judge LeRoy
McCullough on June 7, 2018, which speaks for itself as to content, and denies
each and every other allegation of said paragraph.

3.79 Answering paragraph 3.79 of the FAC, defendant admits only to
the existence of an oral ruling by King County Superior Court Judge LeRoy
McCullough on June 7, 2018, which speaks for itself as to content, and denies
each and every other allegation of said paragraph.

3.80 Answering paragraph 3.80 of the FAC, defendant admits only to

the existence of a written order entered by King County Superior Court Judge

DEFENDANT'S AMENDED ANSWER eo 2
AND AFFIRMATIVE DEFENSES TO wren WA 52
FIRST AMENDED COMPLAINT Fax. (509)575-0351

NO. 2:19-cv-01130-RSL - 23
oO mn BD oa FF WD N

NN NN BS BS PB RB eB eB eS lS lvl
PRRBNRRRPRBBRBRESPE SGV AGaGReORNn Ss SO

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 31 of 52

LeRoy McCullough on September 19, 2018, which speaks for itself as to
content, and denies each and every other allegation of said paragraph.

3.81 Answering paragraph 3.81 of the FAC, defendant denies the same.

3.82 Answering the first sentence of paragraph 3.82 of the FAC, the
term "pre-litigation tort claim" is not defined. With the understanding that the
plaintiff intended to reference a "standard tort claim form," defendant admits
that the plaintiff filed said form with defendant on February 13, 2019, which
form speaks for itself as to content, and denies each and every other allegation
of said sentence. Answering the second sentence of paragraph 3.82 of the
FAC, defendant admits the same.

3.83 Answering the first and second sentence of paragraph 3.83 of the
FAC, defendant admits the same. Answering the third sentence of paragraph
3.83 of the FAC, defendant denies the same. Answering the fourth, fifth and
sixth sentences of paragraph 3.83 of the FAC, defendant admits only that
several parties involved in the mediation reached a settlement agreement,
which speaks for itself as to content. Defendant denies each and every other

allegation of said paragraph.

IV. Claims
DEFENDANT'S AMENDED ANSWER NS eee
AND AFFIRMATIVE DEFENSES TO —— ie ae
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 24
Oo MmnN BD oO fF W NY

OE en Oe
2PRRNRRRPRPRBR SPF SCeSe AA Geen eF CO

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 32 of 52

4.1 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.2 Answering paragraph 4.2 of the FAC, said paragraph sets forth
general statements of law to which no response is required. To the extent a
response is required, defendant admits only to the existence of the Washington
Law Against Discrimination (the "WLAD"), codified at Wash. Rev. Code
Chapter 49.60, which speaks for itself as to purpose and content, and denies
each and every other allegation of said paragraph.

4.3 Answering paragraph 4.3 of the FAC, said paragraph sets forth
general statements of law to which no response is required. To the extent a
response is required, defendant admits only to the existence of the WLAD and
case law authority interpreting and applying the WLAD, including Blackburn
v. Dept. of Soc. & Health Services, 186 Wn.2d 250, 375 P.3d 1076 (2016), and
Howell v. Dept. of Soc. & Health Services, 7 Wn. App. 2d 899, 436 P.3d 368
(2019), each of which speaks for itself as to content, and denies each and every
other allegation of said paragraph.

4.4 Answering paragraph 4.4 of the FAC, said paragraph sets forth

general statements of law and legal argument to which no response is required.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Bod en
FIRST AMENDED COMPLAINT Fax (609}575-0351

NO. 2:19-cv-01130-RSL - 25
Co mnN DS 2 fF W N SF

Cn Os So
2SPRBRNRRRRPRBB&F&S&Gae WTA GDR DWNRe SO

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 33 of 52

To the extent a response is required, defendant admits only to the existence of
the WLAD and case law authority interpreting and applying the WLAD,
including Blackburn and Taylor v. Burlington Northern Railroad Holdings,
Inc., 193 Wn.2d 611, 44 P.3d 606 (2019), each of which speaks for itself as to
content, and denies each and every other allegation of said paragraph.

4.5 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.6 Answering the first and second sentences of paragraph 4.6 of the
FAC, defendant denies the same. Answering the third sentence of paragraph
4.6 of the FAC, defendant admits only that it used City funds to review and re-
translate portions of the relocation plan translated into Spanish and denies each
and every other allegation of said sentence. Answering each and every other
allegation in paragraph 4.6 of the FAC, defendant denies the same.

4.7 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.8 Answering the first sentence of paragraph 4.8 of the FAC,
defendant admits only to the existence of an oral ruling and written order by

Judge McCullough, each of which speaks for itself as to content, and denies

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO oe oe sia
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 26
Oo feN DH OFF F WH NY

NN SF SB BP eB eB OR le llr
PRPBRNRRRPRPRPBRBRSPB SPF WTA Greaney s

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 34 of 52

each and every other allegation of said sentence. Answering each and every
other allegation in paragraph 4.8 of the FAC, defendant denies the same.

4.9 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.10 Answering the first, second, third and fourth sentences of
paragraph 4.10 of the FAC, defendant admits only to the existence of an oral
ruling and written order by Judge McCullough, each of which speaks for itself
as to content, and denies each and every other allegation of said sentences.
Answering each and every other allegation in paragraph 4.10 of the FAC,
defendant denies the same.

4.11 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.12 Answering the first sentence of paragraph 4.12 of the FAC,
defendant is without information or knowledge sufficient to form a belief as to
the truth of said allegations, and therefore denies the same. Answering each

and every other allegation in paragraph 4.12 of the FAC, defendant denies the

Same.

DEFENDANT'S AMENDED ANSWER ee 7 North 398 Avenue
AND AFFIRMATIVE DEFENSES TO iieten eee ts
FIRST AMENDED COMPLAINT Fax (509)875-0351

NO. 2:19-cv-01130-RSL - 27
wo ePmnN DBD a fF OF NY F&F

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 35 of 52

4.13 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.14 Answering paragraph 4.14 of the FAC, defendant denies the same.

4.15 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.16 Answering paragraph 4.16 of the FAC, defendant denies the same.

4.17 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.18 Answering paragraph 4.18 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, therefore denies the same.

4.19 Answering paragraph 4.19 of the FAC, said paragraph sets forth
general statements of law to which no response is required. To the extent a
response is required, defendant admits only to the existence of RCW 2.43.010,
which speaks for itself as to content, and denies each and every other allegation
of said paragraph.

4.20 Answering the first sentence of paragraph 4.20 of the FAC, said

sentence sets forth general statements of law to which no response is required.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Telegipngl esses
FIRST AMENDED COMPLAINT Fax (509)575.0851

NO. 2:19-cv-01130-RSL - 28
Oo mn HD OF Ff» W NY FS

ye NF Se eS eS BP eB oe oS lel
PRBNRRRRRPRRBRBKRBSGae XV :AGUReONnHeE SO

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 36 of 52

To the extent a response is required, defendant admits only to the existence of
RCW 2.43.020(3), which speaks for itself as to content, and denies each and
every other allegation of said sentence. Answering the second sentence of
paragraph 4.20 of the FAC, defendant denies the same.

4.21 Answering the first sentence of paragraph 4.21 of the FAC,
defendant denies the same. Answering the second sentence of paragraph 4.21
of the FAC, the term "SEPA materials" is not defined. To the extent said term
is intended to reference the threshold determination made by the City pursuant
to Wash. Rev. Code Ch. 43.21C, defendant admits only that the City did not
translate the threshold determination into Spanish and denied it had any
obligation or duty to do so. Defendant denies each and every other allegation
of said sentence. Answering the third sentence of paragraph 4.21 of the FAC,
defendant denies the same.

4.22 Answering paragraph 4.22 of the FAC, defendant admits only to
the existence of statements by Councilmembers Anderson and Campell at the
October 25, 2016, SeaTac City Council meeting, each of which speaks for

itself, and denies each and every other allegation of said paragraph.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
807 North 39th Avenue

AND AFFIRMATIVE DEFENSES TO Taephons eyo eteo1s

FIRST AMENDED COMPLAINT Fax (509)575.0851

NO. 2:19-cv-01130-RSL - 29
ow ont dno oF F WS NY

NOE On © =
2PRRBRNRRRPRPRR SSEae WA GUD ReWOH SB

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 37 of 52

4.23 Answering the first two sentences of paragraph 4.23 of the FAC,
said sentences contain general statements of law to which no response is
required. To the extent a response is required, the case law authority cited
therein speaks for itself as to content. Defendant denies each and every other
allegation of said sentences. Answering the third sentence of paragraph 4.23 of
the FAC, defendant denies the same.

4.24 Answering paragraph 4.24 of the FAC, defendant denies the same.

4.25 Defendant repeats, realleges and incorporates by reference each
of the foregoing answers.

4.26 Answering paragraph 4.26 of the FAC, defendant denies the same.

4.27 Defendant repeats, realleges and incorporates by reference each
of the foregoing answers.

4.28 Answering the first sentence of paragraph 4.28 of the FAC, said
sentence makes general statements of law to which no response is required. To
the extent a response is required, defendant admits only to the existence of
SMC § 15.465.600.H, which speaks for itself as to content, and denies each

and every other allegation of said paragraph. Answering the second sentence

of paragraph 4.28 of the FAC, defendant is without information or knowledge
DEFENDANT'S AMENDED ANSWER a eal
AND AFFIRMATIVE DEFENSES TO a.
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 30
Oo mPmnN aD OF fF W NY

Ny NR Se Se SB Be oP eB eS eS le
SRRNRRRRPRBRBRRSUCPSB WA TKR DHE SS

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 38 of 52

sufficient to form a belief as to the truth of said allegations, and therefore
denies the same. Answering each and every other allegation of paragraph 4.28
of the FAC, defendant denies the same.

4.29 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.30 Answering paragraph 4.30 of the FAC, defendant denies the same.

4.31 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.32 Answering paragraph 4.32 of the FAC, defendant denies the same.

4.33 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.34 Answering the first sentence of paragraph 4.34 of the FAC, said
sentence makes general statements of law to which no response is required. To
the extent a response is required, defendant admits only to the existence of
RCW 49.60.222, which speaks for itself as to content, and denies each and
every other allegation of said sentence. Answering each and every other

allegation of paragraph 4.34 of the FAC, defendant denies the same.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Telepionsconis7edsi
FIRST AMENDED COMPLAINT Gees

NO. 2:19-cv-01130-RSL - 31
oO men ad oO F W N

OE Cn Cn Cn
PRBENRRRBBRSFGCae WTA aA sw wWNH Ee SS

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 39 of 52

4.35 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.36 Answering paragraph 4.36 of the FAC, defendant denies the same.

4.37 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.38 Answering the first, second, third and fourth sentences of
paragraph 4.38 of the FAC, defendant admits only to the existence of an oral
ruling and written order by Judge McCullough, each of which speaks for itself
as to content, and denies each and every other allegation of said sentences.
Answering each and every other allegation in paragraph 4.38 of the FAC,
defendant denies the same.

4.39 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.40 Answering the first sentence of paragraph 4.40 of the FAC,
defendant is without information or knowledge sufficient to form a belief as to
the truth of said allegations, and therefore denies the same. Answering each

and every other allegation in paragraph 4.40 of the FAC, defendant denies the

same.

DEFENDANT'S AMENDED ANSWER EN eee
AND AFFIRMATIVE DEFENSES TO Sarnia eee.
FIRST AMENDED COMPLAINT Fax (509)575+-0351

NO. 2:19-cv-01130-RSL - 32
Oo PN a ao fF W NY F&F

NN NNN BSB RB eB el lr RelurRelUrhlUrhlUrRlure
2RRBNRRBPBSRKRRSFSExeuananasrwner so

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 40 of 52

4.41 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.42 Answering paragraph 4.42 of the FAC, defendant denies the same.

4.43 Defendant repeats, realleges and incorporates by reference each
of the foregoing answers.

4.44 Answering paragraph 4.44 of the FAC, defendant is without
information or knowledge sufficient to form a belief as to the truth of said
allegations, therefore denies the same.

4.45 Answering paragraph 4.45 of the FAC, defendant admits only to
the existence of interlocal agreements with King County, each of which speaks
for itself as to content. Paragraph 4.45 does not reference any specific contract
by date or subject matter and defendant is therefore without information or
knowledge sufficient to form a belief as to whether any particular contract or
agreement with King County obligates it to comply with federal LEP policies
and procedures, and therefore denies the same.

4.46 Answering the first sentence of paragraph 4.46 of the FAC, said
sentence makes general statements of law to which no response is required. To

the extent a response is required, defendant admits only to the existence of

DEFENDANT'S AMENDED ANSWER Ne
AND AFFIRMATIVE DEFENSES TO ari ee
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 33
Oo ren nD a FPF W NY F&F

NN NN BF SB SB PB eB eB lel lel lr
2PRRBNRRRRPRBRBRSFSSPeF VT AGDRoONneE SC

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 41 of 52

guidance from the federal government concerning Title VI, including guidance
at 72 Fed. Reg. 2732, 2751, which speaks for itself as to content, and denies
each and every other allegation of said sentence. Answering the second
sentence of paragraph 4.46 of the FAC, defendant denies the same.

4.47 Answering paragraph 4.47 of the FAC, said sentence makes
general statements of law to which no response is required. To the extent a
response is required, defendant admits only to the existence of guidance from
the federal government concerning Title VI, including guidance at 72 Fed. Reg.
2732, 2751, which speaks for itself as to content, and denies each and every
other allegation of said paragraph.

4.48 Answering paragraph 4.48 of the FAC, defendant denies the same.

4.49 Answering paragraph 4.49 of the FAC, defendant admits only to
the existence of statements by Councilmembers Anderson and Campbell at the
October 25, 2016, SeaTac City Council meeting, each statement of which
speaks for itself, and denies each and every other allegation of said paragraph.

4.50 Answering paragraph 4.50 of the FAC, said sentence makes
general statements of law to which no response is required. To the extent a

response is required, defendant admits only to the existence of case law

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO eakinas WA 2
FIRST AMENDED COMPLAINT Fox (05)75055

NO. 2:19-cv-01130-RSL - 34
Oo PON DB FF FF W NY

NNN fF FB BS SB SB RB oR lS lle
PRPBNRRRPRBBRBRSBSPCe UWA GrReRoONne!, SS

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 42 of 52

authority, including A/mendares v. Palmer, 284 F. Supp. 2d 79 (N.D. Ohio
2003), which speaks for itself as to content, and denies each and every other
allegation of said paragraph.

4.51 Answering the first sentence of paragraph 4.51 of the FAC,
defendant denies the same. Answering the second sentence of paragraph 4.51
of the FAC, said sentence makes general statements of law to which no
response is required. To the extent a response is required, defendant admits
only to the existence of federal legislation, which speaks for itself as to content,
and denies each and every other allegation of said sentence.

4.52 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.53 Answering paragraph 4.53 of the FAC, defendant denies the same.

4.54 Defendant repeats, realleges and incorporates by reference each of
the foregoing answers.

4.55 Answering paragraph 4.55 of the FAC, defendant denies the same.

4.56 Defendant repeats, realleges and incorporates by reference each of

the foregoing answers.

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Telephone ibisrststs
FIRST AMENDED COMPLAINT Fax (509}575-0351

NO. 2:19-cv-01130-RSL - 35
oOo Ton an a Ff» W NY

NOs Cn Cr
2PRRNRRPRPRBBR BFE DWTAGROHE SC

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 43 of 52

4.57 Answering the first and second sentences of paragraph 4.57 of the
FAC, defendants deny the same. Answering the third sentence of paragraph
4.57 of the FAC, said sentence makes general statements of law to which no
response is required. To the extent a response is required, defendant admits
only to the existence of federal legislation, including 42 U.S.C. § 3608, which
speaks for itself as to content, and denies each and every other allegation of
said paragraph.

4.58 Answering the first sentence of paragraph 4.58 of the FAC,
defendant admits only to the existence of contracts and agreements with King
County, each of which speaks for itself as to content, and denies each and
every other allegation of said sentence. Answering the second, third and fourth
sentences of paragraph 4.58 of the FAC, said sentences make general
statements of law to which no response is required. To the extent a response is
required, defendant admits only to the existence of federal law and regulation,
including Title 24 of the Code of Federal Regulations, which speaks for itself
as to content, and denies each and every other allegation of said sentences.

4.59 Answering paragraph 4.59 of the FAC, said paragraph makes

general statements of law to which no response is required. To the extent a

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO ret iti WA 2
FIRST AMENDED COMPLAINT Fox (08)75-0851

NO. 2:19-cv-01130-RSL - 36
© mn BD oF FF WF NY FR

OE On =
2PRRBRPNRRRPRBBRBRESESCSBEV RGR BDHRE CS

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 44 of 52

response is required, defendant admits only to the existence of federal law and
authority, including 24 C.F.R. § 100.500 and Griggs v. Duke Power Co., 401
U.S. 424 (1971), which speaks for itself as to content, and denies each and
every other allegation of said paragraph.

4.60 Answering the first sentence of paragraph 4.60 of the FAC,
defendant denies the same. Answering the second sentence of paragraph 4.60
of the FAC, defendant admits only to the existence of its Comprehensive Plan,
which speaks for itself as to content, and denies each and every other allegation
of said sentence. Answering the third sentence of paragraph 4.60 of the FAC,
defendant denies the same.

4.61 Answering paragraph 4.61 of the FAC, defendant denies the same.

4.62 Answering paragraph 4.62 of the FAC, defendant denies the same.

Vv. Damages

5.1. Answering paragraph 5.1 of the complaint, defendant denies the

same.

VI. ‘Plaintiff's Request For Relief
DEFENDANT'S AMENDED ANSWER MENSA CRS ON BENERILEY
AND AFFIRMATIVE DEFENSES TO Telephone (58)575-0013
FIRST AMENDED COMPLAINT Fax 608)575.0351

NO. 2:19-cv-01130-RSL - 37
oO wmnn on oF FPF W N

yw NN BF BS SB BP BS oe Sl lel lhl
PRRNRRRRPRBRSSGEe WTA aweoaoanves

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 45 of 52

6.1. Answering paragraph 6.1 of the complaint, including all subparts
thereto, defendant denies the same, and further denies that plaintiff is entitled
to any of the relief sought therein.

6.2. Except to the extent specifically admitted above, defendant denies
all remaining allegations of the complaint.

VII. Affirmative Defenses

By way of further answer and its first affirmative defenses, defendant
City of SeaTac alleges as follows:

1. Plaintiff has failed to state a claim upon which relief can be
granted for reasons including but not limited to those set forth in defendant's

Fed. R. Civ. P. 12(b)(6) motion to dismiss plaintiff's first amended complaint

(Dkt. #36).

 

23. Some or all of plaintiff's claims are barred by res judicata-or

eollateral-esteppel(claim and/or issue-prechision) relating to or arising from

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO eieghanectoisystas
FIRST AMENDED COMPLAINT Fax (508)575.0351

NO. 2:19-cv-01130-RSL - 38
oO wna a *», WwW NY &

NNR NHN BS SB BP BR BP BP eS eS RS
2SRRBRNSRRRRRRB FSCS WTA TDR DWH E S

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 46 of 52

the lawsuit styled Medina et al. v. City of SeaTac et al., King County Superior
Court case number 17-2-07094-7 KNT.

on Some or all of plaintiff's claims are barred by collateral estoppel
relating to or arising from the lawsuit styled Medina et al. v. City of SeaTac et
al., King County Superior Court case number 17-2-07094-7 KNT.

4. Plaintiff lacks representational standing because it seeks to
recover damages on behalf of its members rather than injunctive or declaratory
relief. Plaintiff lacks organizational standing because it was formed in October
2016 for the purpose of challenging an administrative land use decision.

5. Semeoral of pPlaintiff's claims are barred under the doctrines of

laches, waiver,erunciean hands because plaintiff and its members voluntarily

agreed to move out of the Firs Mobile Home Park.

 

67. Plaintiff's claims are barred under McDonnell Douglas Corp. v.

Green, 411 U.S. 792 (1973), and its progeny because defendant possesses

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Tele oot oas
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 39
Oo mn Ss ot F WD NO

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 47 of 52

legitimate non-discriminatory grounds for all actions challenged by plaintiff
herein.

7%. Plaintiff’s claims are barred because they arise out of improper
claim splitting, circuity of action, and the prior pending action styled Medina et
al. v. City of SeaTac et al., King County Superior Court case number 17-2-
07094-7 KNT.

89. Semeoratrefplaintttsclanms-are barred bythe appleable
statute-oflimitatiens: Claims under the Fair Housing Act arising from conduct
of the City alleged to have occurred prior to July 3, 2017, are barred by the
statute of limitations applicable to such claims. 42 U.S.C. § 3613(a). Claims
under the Washington Law Against Discrimination arising from conduct of the
City alleged to have occurred prior to July 3, 2016, are barred by the statute of
limitations applicable to such claims. RCW § 4.16.080(2).

949. Some or all of plaintiff's claims are not ripe because the City's
decision to approve the relocation plan is currently on appeal in Medina et al.
v. City of SeaTac et al., King County Superior Court case number 17-2-07094-

7 KNT, and is therefore stayed pursuant to SMC § 15.465.600.H.2.g. Some or

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO Telepionesietorss315
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 40
Oo mn DB OF FPF W NY

Ny NN SB BS SB PB Pe eS eS ll
2PRRBNRRRRBRBBSFiSGEaei aanepane os

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 48 of 52

all of plaintiff's claims are also not ripe because many HOA members continue
to live at the Firs Mobile Home Park, which has not closed.
IX. Prayer for Relief

WHEREFORE, defendant having fully answered plaintiff's complaint
and having asserted its affirmative defenses, prays as follows:

1. For dismissal of plaintiff's complaint with prejudice;

Z,, For an award of all reasonable costs and reasonable attorneys' fees
incurred herein as may be recovered by applicable law;

3. For such other and further relief as the Court deems just and
equitable.

DATED THIS __* day of December, 2019.

s/ KENNETH W. HARPER
WSBA #25578

Menke Jackson Beyer, LLP
Attorneys for Defendant
807 North 39" Avenue
Yakima, Washington 98902
Telephone: (509) 575-0313
Fax: (509) 575-0351

Email: kharper@mjbe.com

DEFENDANT'S AMENDED ANSWER MENKE JACKSON BEYER, LLP
AND AFFIRMATIVE DEFENSES TO eos
FIRST AMENDED COMPLAINT Fax (509)575-0351

NO. 2:19-cv-01130-RSL - 41
oO ON BD OF FF» W N

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 49 of 52

CERTIFICATE OF SERVICE

I hereby certify that on November 1, 2019, I filed the foregoing with the
Clerk of the Court using the CM/ECF System, which will send notification of

such filing to the following:

 

 

 

V. Omar Barraza omar@barrazalaw.com
Christina L. Henry chenry@hdm-legal.com
Ms. Mary E. Mirante Bartolo mmbartolo@seatacwa.gov
Mr. Mark S. Johnsen mjohnsen@seatacwa.gov

 

and I hereby certify that I have mailed by United States Postal Service the
document to the following non-CM/ECF participants:

None.

s/ KENNETH W. HARPER
WSBA #25578

Menke Jackson Beyer, LLP
Attorneys for Defendant
807 North 39" Avenue
Yakima, Washington 98902
Telephone: (509) 575-0313
Fax: (509) 575-0351

Email: kharper@mjbe.com

DEFENDANT'S AMENDED ANS WER MENKE JACKSON BEYER, LLP

807 North 39h Avenue

AND AFFIRMATIVE DEFENSES TO Yakima, WA 98902

Telephone (509)575-0313

FIRST AMENDED COMPLAINT Fax (509)575-0351
NO. 2:19-cv-01130-RSL - 42
Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 50 of 52

Appendix B
o foe NN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 51 of 52

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

FIRS HOME OWNERS ASSOCIATION,
No. 2:19-cv-01130-RSL
Plaintiff,
ORDER GRANTING MOTION
V. FOR LEAVE TO AMEND
DEFENDANT’S ANSWERS AND
CITY OF SEATAC, a Municipal AFFIRMATIVE DEFENSES TO
Corporation, FIRST AMENDED COMPLAINT
Defendant.

 

 

 

 

THIS MATTER HAVING COME BEFORE THE COURT upon defendant’s motion for

leave to amend defendant’s Answers and Affirmative Defenses to First Amended Complaint

(Dkt.#37).

The Court, having considered the motion, court file and records, finds good cause and
hereby GRANTS defendant’s motion.

Defendant shall file the Amended Answer and Affirmative Defenses to First Amended
Complaint within three (3) days of the date of this Order.

The clerk is ordered to provide copies of this order to all counsel.

 

Dated this day of , 2019
PROPOSED ORDER ON MOTION FOR LEAVE TO MENKE JACKSON BEYER, LLP
AMEND DEFENDANT’S ANSWER AND 807 NORTH 39™ AVENUE
AFFIRMATIVE DEFENSES TO FIRST AMENDED YAKIMA, WA 98902
COMPLAINT - 1 Telephone (509)575-03 13

(No. 2:19-cv-1130-RSL) Fax (509)575-0351

 
o fe N ON

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

 

 

Case 2:19-cv-01130-RSL Document 48 Filed 12/05/19 Page 52 of 52

Presented by:

/SIKENNETH W. HARPER

WSBA #25578

/s/QUINN N. PLANT

WSBA #31339

Menke Jackson Beyer, LLP

Attorneys for Defendant City of SeaTac
807 North 39th Avenue

Yakima, Washington 98902

Telephone: (509) 575-0313

Email: kharper@mjbe.com

 

HON. ROBERT S. LASNIK
UNITED STATES DISTRICT JUDGE

PROPOSED ORDER ON MOTION FOR LEAVE TO MENKE JACKSON BEYER, LLP
AMEND DEFENDANT’S ANSWER AND 807 NORTH 39™ AVENUE
AFFIRMATIVE DEFENSES TO FIRST AMENDED YAKIMA, WA 98902

COMPLAINT - 2
(No. 2:19-cv-1130-RSL)

Telephone (509)575-03 13
Fax (509)575-0351

 
